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                                 IN THE UNITED STATES DISTRICT COURT
                                                                                                      SEP 1 1 2018
                                     FOR THE DISTRICT OF MARYLAND
                                                                                                   Q.ERK
                                                                                                           ATanEENBELT
                                                                                                           u.s. OISlRJCT coo.m     ~/'.L-
United States of America                                   *                                         Dl6ffilCTCf IURYlAND


                 v.                                        *              Criminal Case No. PWG-I8-463

Ming Zhang                                                 *
                                                       ******
                                          REGULAR SENTENCING           ORDER

          (1)         On or before 10/22/2018 (1101more Ihall 4IJ days/rom Ihe dale a/lhis order), the

Probation Ollicer shall provide the initial draft of the presentence report to counsel for the

Defendant for review with the Defendant. If the Defendant is in pretrial detention. defense

counsel may not provide a copy of the recommendations section of the presentence report to the

Defendant in advance of meeting to review the presentence report. and may not leave the

recommendations section of the presentence report with the Defendant once the review has taken

place. The Probation Officer shall also provide the initial draft of the presentence report to

counsel for the Government.

          (2)         On or before 11/5/2018 (lIotle.,S/llilII J4 days/rom dale ill paragraph I). counsel shall

submit. in writing. to the Probation Officer and opposing counsel. any objections to any material

information, sentencing classifications. advisory sentencing guideline ranges. or policy

statements contained in or omitted from the report.

          (3)         After receiving counsel's objections. the Probation Officer shall conduct any

necessary further investigation and may require counsel for both parties to meet with the

Probation Officer to discuss unresolved factual and legal issues. The Probation Officer shall

make any revisions to the presentence report deemed proper. and, in the event that any objections

made by counsel remain unresolved, the Probation Officer shall prepare an addendum setting

forth those objections and any comment thereon.

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            (4)      On or before I III 6/20 18 (I/otles.> t/tOI/ II daysfronl date iI/ paragrap/t 2), the Probation

Officer shall file the report (and any revisions and addendum thereto) through CM/ECF.

            (5)      If counsel for either party intends to call any witnesses at the sentencing hearing,

counsel shall submit, in writing, to the Court and opposing counsel, on or before

11/7/211/9 (1I(}fless t/tal/ I4 days before selltel/eil/g),     a statement containing (a) the names of the

witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of the anticipated

length of the hearing.

            (6)      Sentencing memoranda are not required unless a party intends to request a

sentence outside the advisory guidelines range on the basis of a non-guideline factor. If

submitted, they shall be filed with the Clerk and a copy delivered to chambers on or before

///7/211/9 (tlOtien t/tatt I4 days before sel/tel/eil/g).        Opposing or responding memoranda are not

required. If submitted, they shall be delivered to chambers on or before

//24/20/9    (I/at Ie,,",t/tat, 7 days before selltel/eil/g).   Copies of all memoranda must be sent to the

Probation Officer.

            (7)      Sentencing shall be on 1/31/2019 at 9:30 a.m.

            (8)      The presentence report, any revisions, and any proposed findings made by the

Probation Officer in the addendum to the report shall constitute the tentative findings of the

Court under section 6A1.3 of the sentencing guidelines. In resolving disputed issues of fact, the

Court may consider any reliable information presented by the Probation Officer, the Defendant,

or the Government, and the Court may issue its own tentative or finallindings                    at any time before

or during the sentencing hearing.




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          (9)        Nothing in this Order requires the disclosure of any portions of the presentence

report that are not disclosable under Federal Rules ofCrin'        al P ocedure 32.


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September 11, 2018
Date                                                       Paul    Grimm
                                                           United States District Judge




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